     Case 1:20-cv-03228-RMP         ECF No. 76-1      filed 02/05/22    PageID.1168 Page 1 of 2



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7
                          IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF WASHINGTON
9
                                                 Court No. 1:20-cv-03228-RMP
10
     SELAH ALLIANCE FOR
11   EQUALITY,
                                                 COMPLAINT IN INTERVENTION
12                         Plaintiff,
                                                 (Proposed)
13   v.
14   CITY OF SELAH, et. al,
15                         Defendants.
16

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18          COMES NOW, the undersigned on his own behalf and on behalf of the descendants

19   of Owhi and alleges on information and belief that on or about February 2, 2022 within the
20   Eastern District of Washington plaintiff and defendant have expressed intent to utilize the
21
     name of Owhi in settlement of litigation and that the above named parties lack legal
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     authorization to do so absent the consent of intervenor plaintiffs, consultation with the
23
     governing body of Owhi’s tribe, and compliance with the ceremonial procedures for
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25   authorization for use of such name. The parties should be enjoined from proceeding with such

26   term until such time as the foregoing ceremonial processes are satisfied.

27
      Compalint (Proposed) - 1                                                    Towtnuk Law Offices, Ltd.
      1:20-cv-03228-RMP                                                    Sacred Ground Legal Services, Inc.
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     Case 1:20-cv-03228-RMP        ECF No. 76-1      filed 02/05/22    PageID.1169 Page 2 of 2



1           DATED this _5th__ day of February, 2022.
2
                                                 Respectfully submitted,
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                                                 S/Jack W. Fiander
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5
                                                 _________________________
6
                                                 Jack W. Fiander
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8
                                         Certificate of Service
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10   The undersigned certifies the foregoing was filed with the Clerk of Court with copies served
     upon all counsel of record.
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                                                 S/Jack W. Fiander
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27
      Compalint (Proposed) - 2                                                    Towtnuk Law Offices, Ltd.
      1:20-cv-03228-RMP                                                    Sacred Ground Legal Services, Inc.
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